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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                              CR-15-19-BMM

                 Plaintiff,

       vs.
                                                            ORDER
COBRA JADE SPOTTED WOLF,

                 Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on August 15, 2017. (Doc. 86.) Spotted Wolf filed

objections on August 29, 2017. (Doc. 87.) The Court reviews de novo findings and

recommendations to which a party objects. 28 U.S.C. § 636(b)(1).

      Judge Johnston conducted a revocation hearing on July 12, 2017. (Doc. 86 at

2.) The United States accused Mr. Spotted Wolf of violating his conditions of

supervised release by (1) submitting a urine sample that tested positive for

methamphetamine, and (2) absconding from the Great Falls Prerelease Center.

(Doc. 86 at 1.) Spotted Wolf admitted allegation 2, but denied allegation 1. (Doc.

86 at 3.) The United States agreed to dismiss allegation 1 in exchange for Mr.

Spotted Wolf agreeing to a sentence of five months in custody, with nineteen

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months supervised release to follow. (Doc. 86 at 3.) Spotted Wolf did stipulate to

the recommended sentence. (Doc. 87 at 3.)

      Spotted Wolf now opposes Judge Johnston’s Findings and

Recommendations. He argues that the recommended sentence is not “necessary to

protect the public, to afford adequate deterrence, or to insure that he is provided

needed psychological and correctional treatment,” three of seven factors the Court

is required to consider pursuant to 18 U.S.C. § 3553(a). (Doc. 87 at 3.) Spotted

Wolf further argues that his motivations for absconding from the Prerelease Center

merit a sentence of time served and five months home detention. (Doc. 87 at 3-4.)

      The Court has considered the 18 U.S.C. § 3553(a) factors and agrees with

Judge Johnston’s Findings and Recommendations. Spotted Wolf’s violations of his

conditions represent a serious breach of the Court’s trust. Under the Conditions of

Mr. Spotted Wolf’s supervised release, he was to remain in the Prerelease Center

for 180 days. (Doc. 77 at 1.) He entered the prerelease center on May 3, 2017 and

remained just 56 days before absconding on June 28, 2017. (Doc. 78 at 1-2.)

Although he now alleges he “left out of concern for his eleven year old child and

was absent for less than twelve hours,” the Petition for Warrant for Offender Under

Supervision recites that he “did not return” to the Prerelease Center. (Doc. 78 at 2.)

Whatever his motivations, Spotted Wolf’s conduct was serious enough to merit a




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termination letter deeming him ineligible to return to the Great Falls Prerelease

Center. (Doc. 78 at 2.)

      This violation proves serious and warrants revocation of Spotted Wolf’s

supervised release. Judge Johnston has recommended that the Court revoke

Spotted Wolf’s supervised release and commit Spotted Wolf to the custody of the

Bureau of Prisons for five months. (Doc. 86 at 4.) Judge Johnston further has

recommended that 19 months of supervised release follow his custody period.

(Doc. 86 at 4.) The sentence recommended by Judge Johnston is sufficient, but not

greater than necessary.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 86) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Cobra Jade Spotted Wolf be

sentenced to custody for five months, followed by 19 months supervised release.

      DATED this 30th day of August, 2017.




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